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7th May 2022


Judge Amy Berman Jackson




Dear Judge Berman Jackson,

       Your honor I would like to be one final letter you read in reference to
Dennis Sidorski.

        I have known Mr. Sidorski for close to 5 years now. I first met him while
finishing high school and I am now going into my third year of college. While
my father Ed Burton and Mr. Sidorski were working together they became
good friends and I got to know Mr.Sidorski as well as his family. He has a
beautiful and loving family who has supported him through this whole process.
While everyone can say he is a good man from a work or family environment I
would like to share my perspective of just a friend.

        Mr. Sidorski would be one of the first calls I would make if I was in
trouble or hurt because I know he would drop everything to be there. As a
young girl, I feel like it is important to write this to say that Mr. Sidorski is a
good man who makes me feel safe. During times my parents were out of town
Mr. SIdorski would drive by my parent's house to make sure I was okay and
asked if I needed anything. During the pandemic, he went out of his way to
bring my mom and I groceries and toilet paper so we would not have to go out
in the craziness. Every time I have seen him he teaches me new things about
life and roots for me to finish strong with school. He is compassionate and
caring to everyone around him.

        He has admitted to me and anyone who will listen that he made a poor
decision on January 6th, 2021. I respect him as a man and individual for fully
admitting to being in the wrong and wanting to change. I have seen him lose
his job and a way to support his wife and daughter, yet he still stayed positive
and found a way to keep going on with his life. He has been heartbroken and
distraught about this entire situation. To me, he is an important person in
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society because he is the guy to stop in his tracks and help the elderly person
cross the road, buy girl scout cookies from his neighbor, but most importantly
be a good father and friend. I do not think this incident should define him as a
person, it was a mistake that he has remorse towards. He loves this country
something you do not hear anymore. As an American it is great to see
someone care, however, he does know now how to love his country in a way
that does not disrupt society.

       He has been a role model to me despite this incident and has my full
support during this process and after. Thank you for taking the time to listen to
me, your honor. God bless you.

Respectfully,

Vitoria B. Burton
